[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                                  ORDER
Upon motion to preserve evidence having been heard and granted:
The Court ORDERS the prosecuting authority and the Stamford Police Department to take all reasonable steps to preserve the videotaped statement given by the petitioner to said police department at the time of his arrest; all reports, whether handwritten, typewritten, or electronically recorded, made by any officer in connection with this case with direct communication to be made with technician Joseph Coviello and Lt. George Mayer, and any and all other records, reports, documents, statements, audiotapes, videotapes and photographs pertaining to this case.
Thomas H. Corrigan Judge Trial Referee